Case 3:07-cv-05944-JST Document 724 Filed 06/03/10 Page 1 of 5
Case 3:07-cv-05944-JST Document 724 Filed 06/03/10 Page 2 of 5
Case 3:07-cv-05944-JST Document 724 Filed 06/03/10 Page 3 of 5
Case 3:07-cv-05944-JST Document 724 Filed 06/03/10 Page 4 of 5
Case 3:07-cv-05944-JST Document 724 Filed 06/03/10 Page 5 of 5




                                                        S DISTRICT
                                                     ATE           C
                                                    T




                                                                                 O
                                               S




                                                                                  U
                                              ED




                                                                                   RT
    6/3/10                                                        ORDER
                                                                             ED
                                          UNIT
                                                           O
                                                   IT IS S




                                                                                       R NIA
                                                                          onti
                                                                   amuel C
                                          NO




                                                            Judge S




                                                                                      FO
                                           RT




                                                                                  LI
                                                   ER
                                               H




                                                                                  A
                                                        N                         C
                                                                          F
                                                            D IS T IC T O
                                                                  R
